                                                                                                                                                     2
                                                                                                1                  THE DEPOSITION OF THOMAS EDWARD
                                                                              1                 2       UTHE, taken before Gale Sweeney Christensen,
                                                                                                3       Certified Shorthand Reporter, Registered
   09:00:32    1         IN THE IOWA DISTRICT COURT FOR LUCAS COUNTY                            4       Professional Reporter, and Notary Public of
                                                                                                5       the State of Iowa, commencing at 9 a.m.,
               2        CHARTER AG LLP,         )
                                                )                                               6       June 4, 2021, at Suite 100, 6701 Westown
               3                    Plaintiff,  ) Case No. EQCV033267
                                                )                                               7       Parkway, West Des Moines, Iowa.
               4        vs.                     ) DEPOSITION OF
                                                )                                               8                 A P P E A R A N C E S
               5        UTHE FARMS, INC. and    ) THOMAS EDWARD UTHE
                        THOMAS J. UTHE,         )                                               9       Plaintiffs by: DANIEL P. KRESOWIK
               6                                )                                                                      Attorney at Law
                                   Defendants. )
               7        _______________________ )                                              10                     Suite 100
               8        TERRY LEHRMAN,          )                                                                      6701 Westown Parkway
                                                )
               9                   Plaintiff,   ) Case No. LACV033268                          11                       West Des Moines, Iowa 50266
                                                )                                                                        dan.kresowik@brickgentrylaw.com
              10        vs.                     )
                                                )                                              12
              11        THOMAS J. UTHE, UTHE    )
                        FARMS, INC., THOMAS E. )                                                        Defendants by: CHRISTOPHER STEWART
              12        UTHE, JODIE L. UTHE,    )
                        and AUSTIN UTHE,        )                                              13                          Attorney at Law
              13                                )
                                   Defendants. )                                                                           2015 Grand Avenue
              14        _______________________ )                                              14                          Des Moines, Iowa 50312
                                                )
              15        TERRY LEHRMAN,          )                                                                          cstewart@gbswlaw.com
                                                )
              16                   Plaintiff,   ) Case No. EQCV033282                          15
                                                )
              17        vs.                     )                                                       Also present:      Jodie Uthe
                                                )
              18        THOMAS J. UTHE, UNITED )                                               16                          Austin Uthe
                        STATES OF AMERICA,      )                                                                          Terry Lehrman
              19        DEPARTMENT OF JUSTICE, )
                        AGRIFUND, LLC, PARTIES )                                               17
              20        IN POSSESSION,          )
                                                )                                              18
              21                   Defendants. )
                        _______________________ )
              22
                                                                                               19
              23                                                                               20
              24        Reported by:     Gale Sweeney Christensen,                             21
                                         CSR, RPR
              25                                                                               22
                                                                                               23
                         SWEENEY COURT REPORTING (515) 244-6373
                   320 Insurance Exchange Bldg., Des Moines, IA 50309                          24
                                                                                               25
                                                                                                         SWEENEY COURT REPORTING (515) 244-6373
                                                                                                    320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                                          3                                                                          4
         1                  INDEX OF EXAMINATION
         2         Examination by        Page                                                  1                     THOMAS EDWARD UTHE,
         3         Mr. Kresowik           4, 64                                                2        called as a witness, having been first duly
         4         Mr. Stewart            62
                                                                                               3        sworn, testified as follows:
         5
         6                                                                                      4                    DIRECT EXAMINATION
         7                               EXHIBITS
                                                                                    09:00:31    5       BY MR. KRESOWIK:
         8         Exhibit
                   Number           Description                  Page               09:00:31    6       Q.   Good morning, Mr. Uthe.       You were here
         9                                                                          09:00:35    7       for your son TJ's deposition all day
                   Exhibit 46       Dft Thomas E. Uthe's             56
       10                           First Supplemental                              09:00:37    8       yesterday; correct?
                                    Answers to Plf's First                          09:00:38    9       A.   Yes.
       11                           Set of Interrogatories
                                                                                    09:00:39   10       Q.   So I'm not going to bother going over
       12          Exhibit 47       Dft Thomas E. Uthe's     57                     09:00:41   11       the ground rules.      I assume you're familiar
                                    First Supplemental
                                                                                    09:00:43   12       with them.
       13                           Responses to Plf's First
                                    Set of Request For                              09:00:44   13       A.   Yes.
       14                           Production of Documents                         09:00:44   14       Q.   Where were you born?

       15          Exhibit 48       US Bankruptcy Petition           58             09:00:45   15       A.   Ames, Iowa.
                                    filed 7/31/1991                                 09:00:47   16       Q.   What year?
       16
                                                                                    09:00:48   17       A.   1954.
                   Exhibit 49       US Bankruptcy Petition           59
       17                           filed 10/30/2015                                09:00:50   18       Q.   What is your full name?
                                                                                    09:00:54   19       A.   Thomas Edward Uthe.
       18          Exhibit 50       US District Court                59
                                    Criminal Docket Sheet                           09:00:56   20       Q.   Have you ever been known by any other
       19                           USA v. Uthe                                     09:00:59   21       names?

       20                                                                           09:00:59   22       A.   Tom.
       21                                                                           09:01:00   23       Q.   What is your current address?
       22
                                                                                    09:01:02   24       A.   23091 510th Lane, Chariton, Iowa.
       23
       24                                                                           09:01:08   25       Q.   Do you have a cellular telephone number?
       25
                                                                                                        SWEENEY COURT REPORTING (515) 244-6373
                    SWEENEY COURT REPORTING (515) 244-6373
               320 Insurance Exchange Bldg., Des Moines, IA 50309                                   320 Insurance Exchange Bldg., Des Moines, IA 50309


                                                                                                                                                                   1
1 of 24 sheets                                                          Sweeney Court Reporting                                                Page 1 to 4 of 66
                                                               9                                                                     10
09:05:03    1       A. No.                                            09:05:54    1       marked as Exhibit 3.        Are you familiar with
09:05:03    2       Q. Any other convictions for theft?               09:05:56    2       Exhibit 3?
09:05:05    3       A. No.                                            09:05:57    3       A. Yes.
09:05:06    4       Q. Perjury?                                       09:05:57    4       Q. What is Exhibit 3?
09:05:06    5       A. No.                                            09:05:59    5       A. It's a list of machinery.
09:05:07    6       Q. Burglary?                                      09:06:01    6       Q. And who generated this list?
09:05:08    7       A. No.                                            09:06:03    7       A. I believe it was Wells Fargo did.
09:05:08    8       Q. Fraud?                                         09:06:08    8       Q. Did you ever discuss Exhibit 3 with
09:05:09    9       A. No.                                            09:06:11    9       Terry?
09:05:10   10       Q. Forgery?                                       09:06:13   10       A. No, I don't believe I did.
09:05:11   11       A. No.                                            09:06:15   11       Q. Were you ever present during any
09:05:12   12       Q. How did you come to know Terry Lehrman?        09:06:18   12       discussions between your sons and Terry about
09:05:14   13       A. Through the Craigslist ad that he              09:06:23   13       Exhibit 3?
09:05:19   14       posted.                                           09:06:23   14       A. Yes.
09:05:19   15       Q. How long had you been involved in custom       09:06:23   15       Q. And when was that?
09:05:22   16       farming before you saw the Craigslist ad?         09:06:25   16       A. When we first started talking about the
09:05:25   17       A. Oh, off and on doing different services        09:06:28   17       upcoming sheriff's sale.
09:05:27   18       for different farmers.                            09:06:31   18       Q. And when we're talking about the
09:05:29   19       Q. What do you consider your current              09:06:33   19       sheriff's sale, that's the sheriff's sale
09:05:31   20       occupation?                                       09:06:35   20       referenced in Exhibit 4?
09:05:32   21       A. I'm retired.                                   09:06:36   21       A. Yes.
09:05:33   22       Q. Retired. When you were employed what           09:06:37   22       Q. How soon before the sheriff's sale,
09:05:35   23       did you consider your occupation?                 09:06:41   23       which occurred May 2nd, 2017, did you start
09:05:36   24       A. A self-employed farmer.                        09:06:44   24       talking with Terry Lehrman?
09:05:39   25       Q. I've handed you what we've previously          09:06:46   25       A. I think we met in the fall before.
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                           11                                                                        12
09:06:58    1       Q. It would be fall of '16?                       09:07:49    1       building, and then it's the grain facility.
09:07:00    2       A. Yeah, I believe so.                            09:07:54    2       And then the third property is what we call
09:07:02    3       Q. And did you know at that time the              09:07:56    3       the west shop, which just is basically a
09:07:05    4       sheriff's sale would be upcoming?                 09:07:59    4       storage facility.
09:07:07    5       A. Yes.                                           09:08:00    5       Q. Do you recall when you were first
09:07:08    6       Q. And were you asking Terry to do anything       09:08:05    6       present when content of Exhibit 3 was
09:07:13    7       with respect to the sheriff's sale?               09:08:08    7       discussed with Terry Lehrman?
09:07:14    8       A. Well, after he posted his ad, you know,        09:08:10    8       A. I'm sorry. Repeat.
09:07:18    9       it sparked our interests of how we could work     09:08:12    9       Q. Sure. I believe you testified that you
09:07:20   10       together.                                         09:08:15   10       were present during some conversations
09:07:21   11       Q. Work together, what do you mean?               09:08:17   11       between your sons and Mr. Lehrman about the
09:07:22   12       A. With custom farming and keeping the            09:08:19   12       content of Exhibit 3; correct?
09:07:25   13       properties intact.                                09:08:21   13       A. Correct.
09:07:26   14       Q. And you say the properties, the                09:08:22   14       Q. Do you recall in relation to the
09:07:29   15       properties that were going to be sold at the      09:08:25   15       sheriff's sale when was the first time you
09:07:31   16       sheriff's sale in May of 2017?                    09:08:27   16       were present when there were discussions
09:07:33   17       A. Correct.                                       09:08:28   17       between your sons and Terry Lehrman about the
09:07:33   18       Q. How many properties were sold at that          09:08:31   18       content of Exhibit 3?
09:07:37   19       sheriff's sale, if you recall?                    09:08:33   19       A. Yes.
09:07:38   20       A. Three.                                         09:08:33   20       Q. When?
09:07:39   21       Q. Do you have different names for the            09:08:34   21       A. I don't recall the date.
09:07:41   22       properties?     And feel free to look at          09:08:35   22       Q. I mean, was it days before the sheriff's
09:07:43   23       Exhibit 4 if it helps you refresh your            09:08:38   23       sale?    Weeks?   Months?
09:07:46   24       recollection.                                     09:08:40   24       A. Oh, probably a week before.
09:07:46   25       A. Well, it's the office/shop, maintenance        09:08:43   25       Q. Where was this discussion?
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309

                                                                                                                                                   2
3 of 24 sheets                                            Sweeney Court Reporting                                             Page 9 to 12 of 66
                                                          13                                                                     14
09:08:44    1       A. At our office.                                 09:09:52    1       Q. So as of 2/23 -- I'm not holding you to
09:08:46    2       Q. Sticking with Exhibit 3, do you know           09:09:56    2       it -- but let's say as of February 23, 2015,
09:08:52    3       what year purchased means, that column?           09:09:59    3       do you believe this balance sheet was
09:08:57    4       A. It was the year the equipment was              09:10:01    4       accurate?
09:08:59    5       purchased.                                        09:10:01    5       A. Yes.
09:08:59    6       Q. Purchased by whom?                             09:10:02    6       Q. As of May 2nd, 2017, do you believe this
09:09:01    7       A. Uthe Farms.                                    09:10:08    7       balance statement was accurate?
09:09:02    8       Q. Did Uthe Farms purchase all of this            09:10:11    8       A. Yes.
09:09:06    9       equipment referenced in Exhibit 3?                09:10:13    9       Q. Market value, do you know what that
09:09:09   10       A. Yes.                                           09:10:16   10       means?
09:09:19   11       Q. The percent ownership column, do you           09:10:17   11       A. Estimated market value of equipment.
09:09:21   12       know what that means?                             09:10:19   12       Q. Who estimated those market values?
09:09:22   13       A. Yes.                                           09:10:22   13       A. I probably did.
09:09:22   14       Q. What does it mean?                             09:10:25   14       Q. What did you use to estimate them?
09:09:24   15       A. What percent of the equipment is owned         09:10:28   15       A. Oh, just Machinery Pete or any valuation
09:09:27   16       by Uthe Farms.                                    09:10:36   16       for farm equipment.
09:09:28   17       Q. This document Exhibit 3 has a date at          09:10:37   17       Q. What's Machinery Pete?
09:09:34   18       the top of 2/27/15.     Do you see that?          09:10:39   18       A. It's a website that you can go to look
09:09:37   19       A. Yes.                                           09:10:41   19       up different values of machinery.
09:09:38   20       Q. And then on the left side it has 2/23 of       09:10:43   20       Q. For what purpose would you have listed a
09:09:41   21       '15.    My assumption is that this was a          09:10:49   21       market value for this equipment?     What were
09:09:44   22       balance sheet updated through 2/23 and maybe      09:10:51   22       you trying to show?
09:09:46   23       printed on 2/27.    Do you have any reason to     09:10:52   23       A. I was doing a balance statement for the
09:09:51   24       dispute that?                                     09:10:54   24       bank.
09:09:52   25       A. No.                                            09:10:54   25       Q. What bank?
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                          15                                                                     16
09:10:56   1        A. Wells Fargo.                                   09:11:48    1       Q. 2019?
09:10:56   2        Q. Why did they need a balance statement?         09:11:54    2       A. I don't know.
09:10:58   3        A. It's just something I do annually. It          09:11:56    3       Q. 2020?
09:11:02   4        was part of the farming operation.                09:11:58    4       A. I don't know that either.
09:11:03   5        Q. Farming operation for Uthe Farms?              09:11:59    5       Q. Let's look at the first page of
09:11:06   6        A. Correct.                                       09:12:05    6       Exhibit 3, please.     And there is an item
09:11:06   7        Q. Would you have had a 2016 balance sheet        09:12:07    7       struck out.   Do you know why that item was
09:11:09   8        for Uthe Farms?                                   09:12:10    8       stricken?
09:11:14    9       A. Probably not.                                  09:12:11    9       A. It was a return to John Deere.
09:11:15   10       Q. Why not?                                       09:12:16   10       Q. Do you recall when?
09:11:16   11       A. Because I wasn't farming in '16.               09:12:18   11       A. No.
09:11:18   12       Q. Did you have any ownership interest in         09:12:18   12       Q. Was it prior or after the sheriff's
09:11:23   13       Uthe Farms in 2016?                               09:12:24   13       sale?
09:11:25   14       A. Yes.                                           09:12:25   14       A. Prior.
09:11:25   15       Q. Were you an employee of Uthe Farms in          09:12:26   15       Q. If you look at the second page of
09:11:32   16       2016?                                             09:12:29   16       Exhibit 3, please, there is two items that
09:11:33   17       A. No.                                            09:12:32   17       have been struck.     The first one is the John
09:11:33   18       Q. Were you an officer or director of Uthe        09:12:36   18       Deere tractor 9330.     Do you know why that
09:11:36   19       Farms in 2016?                                    09:12:38   19       item was struck?
09:11:37   20       A. Yes.                                           09:12:40   20       A. Yeah, it was returned to John Deere.
09:11:37   21       Q. Would Uthe Farms have a balance sheet          09:12:42   21       Q. Prior or after the sheriff's sale?
09:11:42   22       for 2017?                                         09:12:45   22       A. Prior.
09:11:43   23       A. No.                                            09:12:46   23       Q. Next one, JD 7000 planter, do you know
09:11:44   24       Q. 2018?                                          09:12:50   24       why that item was struck?
09:11:45   25       A. I don't think so.                              09:12:52   25       A. Because it was sold.
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309

                                                                                                                                               3
Page 13 to 16 of 66                                       Sweeney Court Reporting                                             4 of 24 sheets
                                                           17                                                                   18
09:12:54    1       Q. Do you recall when it was sold?                09:13:47    1       discussions?
09:12:56    2       A. No.                                            09:13:48    2       A. He said he would see what he could do.
09:12:57    3       Q. Prior to or after the sheriff's sale?          09:13:50    3       Q. See what he could do to what?
09:13:02    4       A. Prior.                                         09:13:52    4       A. Help us secure the properties.
09:13:02    5       Q. Last handwriting, 2012 Dakota grain            09:13:54    5       Q. Who owned the property at the time of
09:13:07    6       trailer, 30 K each, is that four of them          09:13:57    6       the sheriff's sale?
09:13:09    7       listed?                                           09:13:58    7       A. Uthe Farms.
09:13:10    8       A. That's four.                                   09:13:59    8       Q. How long had Uthe Farms owned that
09:13:10    9       Q. Do you know why that handwriting was           09:14:02    9       property?
09:13:12   10       added?                                            09:14:03   10       A. It varied between each property.
09:13:13   11       A. Because it wasn't included.                    09:14:12   11       Q. Let's start with the -- was it West
09:13:14   12       Q. What do you mean it wasn't included?           09:14:16   12       Shop?
09:13:16   13       A. It wasn't included on the list.                09:14:17   13       A. Yeah, the West Shop I purchased, oh, in
09:13:18   14       Q. And it was supposed to be included on          09:14:28   14       '12, 2012.
09:13:20   15       the list?                                         09:14:30   15       Q. Grain facility?
09:13:21   16       A. Yes.                                           09:14:31   16       A. I think in '13, 2013.
09:13:21   17       Q. Do you know whose handwriting that is?         09:14:40   17       Q. Office and shop?
09:13:24   18       A. No, I don't.                                   09:14:41   18       A. I think that was a '13 purchase as well.
09:13:25   19       Q. Let's go to Exhibit 4, please. And I'll        09:14:44   19       Q. How long -- or strike that. When was
09:13:36   20       keep them just to keep them organized.            09:14:47   20       Uthe Farms incorporated?
09:13:39   21       Thanks.     Did you have any discussions with     09:14:48   21       A. '96, 1996.
09:13:42   22       Terry Lehrman about bidding on the properties     09:14:52   22       Q. At the time of incorporation were you
09:13:44   23       at the sheriff's sale?                            09:14:57   23       the sole owner?
09:13:45   24       A. We talked about it.                            09:14:58   24       A. Yes.
09:13:46   25       Q. What is your recollection of those             09:14:58   25       Q. When did that change between you being
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                           19                                                                   20
09:15:00   1        the sole owner to having other owners first       09:15:45    1       Q. Was Jodi a 50 percent owner up until
09:15:03   2        time?                                             09:15:49    2       Joel became an owner this year?
09:15:03   3        A. When Jodie and I got married.                  09:15:52    3       A. Yes.
09:15:06   4        Q. Were you 50/50 when you got married?           09:15:52    4       Q. Who are the current officers of Uthe
09:15:09   5        A. Yes.                                           09:15:57    5       Farms?
09:15:10   6        Q. And then it's changed a couple times           09:15:58    6       A. I'm president and Jodi is vice
09:15:14   7        since then ownership; is that accurate?           09:16:02    7       president.
09:15:15    8       A. No.                                            09:16:02    8       Q. Who are the current directors of Uthe
09:15:16    9       Q. Who is the current owners of Uthe Farms?       09:16:06    9       Farms?
09:15:18   10       A. Me and my son, Joel.                           09:16:07   10       A. Austin and TJ, and I think Joel is the
09:15:20   11       Q. What's your percent ownership?                 09:16:13   11       director too.
09:15:22   12       A. 50 percent.                                    09:16:14   12       Q. Just the three of them?
09:15:24   13       Q. What's Joel's percent ownership?               09:16:16   13       A. Yes.
09:15:26   14       A. 50 percent.                                    09:16:16   14       Q. When did you cease serving as a
09:15:27   15       Q. Have you always been 50 percent owner          09:16:23   15       director?
09:15:29   16       since you and Jodi got married?                   09:16:23   16       A. When -- well, I never was a director.
09:15:31   17       A. Yes.                                           09:16:27   17       Q. Who was director before Austin, TJ, and
09:15:32   18       Q. And then when did Joel become 50 percent       09:16:36   18       Joel?
09:15:35   19       owner?                                            09:16:37   19       A. There wasn't.
09:15:35   20       A. Just this year.                                09:16:38   20       Q. When did Austin, TJ, and Joel become
09:15:36   21       Q. 2021?                                          09:16:52   21       directors?
09:15:37   22       A. Correct.                                       09:16:53   22       A. Just a couple years ago.
09:15:41   23       Q. Why?                                           09:16:54   23       Q. Am I correct in understanding, then,
09:15:42   24       A. Joel is starting a farm, so I thought          09:16:56   24       there were no board meetings before those
09:15:44   25       that would help him out.                          09:16:58   25       three became directors?
                    SWEENEY COURT REPORTING (515) 244-6373                                SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                    320 Insurance Exchange Bldg., Des Moines, IA 50309

                                                                                                                                              4
5 of 24 sheets                                            Sweeney Court Reporting                                       Page 17 to 20 of 66
                                                           25                                                                      26
09:21:54    1       entities have full authority to enter into an      09:23:25    1       Q. It says they agreed to lease the
09:21:57    2       agreement to sell the referenced items, do         09:23:26    2       equipment from 5/2 of '17 to 3/1/18 as
09:21:59    3       you believe that was accurate as of 5/2 of         09:23:30    3       specified above.   To me that means that if
09:22:03    4       '17?                                               09:23:32    4       they are leasing the equipment through 3/1 of
09:22:03    5       A. Yes.                                            09:23:35    5       '18 then as of 3/1/18 or before they need to
09:22:04    6       Q. The dollar amounts on page 3 of                 09:23:39    6       return them, the sellers?     Do you have a
09:22:08    7       Exhibit 6, do you know how those were              09:23:42    7       different understanding?
09:22:11    8       derived?                                           09:23:43    8       A. Yeah, I don't -- I don't know what that
09:22:12    9       A. I think that number came off Exhibit 4.         09:23:45    9       means.
09:22:21   10       Q. 3?                                              09:23:46   10       Q. Well, let me ask you this:     Did
09:22:21   11       A. 3.                                              09:23:48   11       sellers -- and when I'm saying sellers, it's
09:22:22   12       Q. And, again, Exhibit 3 looks to me like          09:23:51   12       you, Jodie, TJ, Austin, and Uthe Farms --
09:22:26   13       it had been prepared in '15.     Do you know,      09:23:55   13       return all of the equipment to Terry on
09:22:28   14       since we are two-plus years later, had             09:23:57   14       3/1/18?
09:22:32   15       depreciation been factored in?     Had any         09:23:59   15       A. No.
09:22:35   16       further analysis been done to assess current       09:24:00   16       Q. Do you know who has possession of the
09:22:38   17       market value?                                      09:24:09   17       equipment on page 3 of Exhibit 6?
09:22:40   18       A. I don't know.                                   09:24:11   18       A. Uthe Farms does.
09:22:42   19       Q. Look at the third paragraph of                  09:24:12   19       Q. All of it?
09:23:01   20       Exhibit 6, please, page 1.     It states the       09:24:13   20       A. Not all of them.
09:23:05   21       sellers agreed to lease the equipment from         09:24:14   21       Q. Which one does Uthe Farms not have
09:23:08   22       5/2/17 to 3/1/18 as specified above.     Was all   09:24:17   22       possession of anymore?
09:23:15   23       of the equipment returned on 3/1/18 or before      09:24:18   23       A. Well, there'd be several items that are
09:23:18   24       then?                                              09:24:22   24       either sold or traded in.
09:23:19   25       A. What do you mean returned?                      09:24:30   25       Q. States in paragraph 3:     Further, they
                    SWEENEY COURT REPORTING (515) 244-6373                                 SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                     320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                           27                                                                      28
09:24:45   1        agree to maintain the equipment and vehicles       09:25:58    1       handwriting signed Jodie Uthe by Tom Uthe,
09:24:48   2        such that they will be returned in like            09:26:02    2       POA?
09:24:51   3        quality.     Usage will be limited to 300 engine   09:26:03    3       A. Yes.
09:24:54   4        hours/year for powered farm machines and           09:26:03    4       Q. At the time did you hold Jodie's POA?
09:25:01   5        30,000 miles for licensed vehicles.     Do you     09:26:07    5       A. Yes.
09:25:04   6        know whether that was done, whether those          09:26:07    6       Q. How long had you been Jodie's POA?
09:25:06   7        limits were met?                                   09:26:11    7       A. Quite a while.
09:25:07    8       A. I believe so.                                   09:26:14    8       Q. What was that POA for? Was it just
09:25:08    9       Q. Fourth paragraph states the                     09:26:17    9       financial?
09:25:17   10       sellers/lessees have the option to purchase        09:26:18   10       A. Financial and FSA paperwork.
09:25:20   11       the list of equipment in vehicles for 475,000      09:26:21   11       Q. Do you still have a copy of the POA that
09:25:24   12       on March 1st, 2018.     Was that option ever       09:26:25   12       was in existence as of 5/2/17?
09:25:30   13       exercised?                                         09:26:28   13       A. Oh, I -- I don't know if there is a copy
09:25:30   14       A. No.                                             09:26:31   14       around anywhere or not.
09:25:31   15       Q. The next paragraph, the sellers also            09:26:32   15       Q. Are you still POA for Jodie?
09:25:32   16       have the option if elected in writing by           09:26:35   16       A. No.
09:25:34   17       1/1/18 to enter into a three-year lease with       09:26:36   17       Q. When did that cease?
09:25:37   18       option to purchase the list of equipment           09:26:38   18       A. Well, we don't -- we don't farm anymore,
09:25:39   19       attached.     Was that option ever exercised?      09:26:41   19       so there is no need for one.
09:25:42   20       A. No.                                             09:26:44   20       Q. But let's talk about the POA that was in
09:25:42   21       Q. Page 2 of Exhibit 6, is that your               09:26:47   21       existence as of 5/2 of '17.     Was that POA
09:25:48   22       signature in the left column as Tom Uthe for       09:26:52   22       limited to a specific period of time?
09:25:51   23       Uthe Farms, Inc., and Tom Uthe as individual?      09:26:56   23       A. I don't believe so.
09:25:55   24       A. Yes.                                            09:26:57   24       Q. So did that POA terminate?     Did Jodie do
09:25:56   25       Q. Then in the right column is that your           09:27:01   25       something to revoke that POA?
                    SWEENEY COURT REPORTING (515) 244-6373                                 SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                     320 Insurance Exchange Bldg., Des Moines, IA 50309

                                                                                                                                                 5
7 of 24 sheets                                            Sweeney Court Reporting                                          Page 25 to 28 of 66
6
7
8
9
10
